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                      IN THE UNITED STATES DISTRICT COURT FOR THE
                             WESTERN DISTRICT OF TENNESSEE
                                   WESTERN DIVISION

UNITED STATES OF AMERICA,                         )
                                                  )
         Plaintiff,                               )
                                                  )   Case No.: 2-23-CR-20207-SHL
v.                                                )
                                                  )
LUIS GALLARDO-ARAMBULA                            )
and                                               )
JAVIER RAMOS-MARTINEZ                             )
                                                  )
         Defendants.                              )


                                  NOTICE OF APPEARANCE



         COMES NOW the undersigned counsel, to file this notice on behalf of the United States

of America in this cause, and to request copies of notices and settings hereafter with respect to any

matter that may be pending.

         This day, November 14, 2023.


                                                      Respectfully submitted,

                                                      KEVIN G. RITZ
                                                      United States Attorney

                                                      s/ Bryce H. Phillips
                                                      BRYCE H. PHILLIPS
                                                      Assistant United States Attorney
                                                      800 Federal Building
                                                      167 North Main
                                                      901-544-4231




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                                 CERTIFICATE OF SERVICE

       I, Bryce H. Phillips, Assistant United States Attorney for the Western District of Tennessee,

hereby certify that a copy of the foregoing document has been filed via the District Court’s

electronic case filing system.

       This day, November 14, 2023


                                                     /s/ Bryce H. Phillips
                                                     Assistant United States Attorney




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